         Case 1:18-md-02865-LAK              Document 529    Filed 01/29/21    Page 1 of 24




                               UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF NEW YORK

 In re

 CUSTOMS AND TAX ADMINISTRATION
 OF THE KINGDOM OF DENMARK                                       MASTER DOCKET
 (SKATTEFORVALTNINGEN) TAX
 REFUND SCHEME LITIGATION                                         18-md-2865 (LAK)

 This document relates to:           18-cv-09841

 ---------------------------------------------------------

 ROBERT CREMA,

            Third-Party Plaintiff,
                                                             THIRD-PARTY COMPLAINT
                                                             AND JURY DEMAND
 v.

 ED&F MAN CAPITAL MARKETS LTD.,

            Third-Party Defendant.


          Pursuant to Rule 14 of the Federal Rules of Civil Procedure, Defendant/Third-Party

Plaintiff Robert Crema (the “Third-Party Plaintiff”) brings the following third-party claims against

Third-Party Defendant ED&F Man Capital Markets Ltd. (“ED&F”).

          The American Investment Group of New York, L.P. Pension Plan (the “AIG Plan,” or the

“Plan”) submitted withholding-tax refund requests to Plaintiff Skatteforvaltningen (“SKAT”)

based on information provided to the AIG Plan by ED&F, including ED&F’s “tax vouchers” that

confirmed the Plan’s receipt of dividends net of withholding taxes, suffering of withholding taxes,

and entitlement to tax reclaims. ED&F has since admitted that four (4) of the tax vouchers on

which the AIG Plan relied were inaccurate.
      Case 1:18-md-02865-LAK           Document 529         Filed 01/29/21      Page 2 of 24




       Third-Party Plaintiff firmly believes the Plan was entitled to the withholding-tax refunds it

claimed from SKAT and that SKAT now wants returned in its action against Third-Party Plaintiff.

If, however, SKAT’s allegations against Third-Party Plaintiff are proven to be true or if SKAT is

otherwise entitled to a return of the tax refunds from Third-Party Plaintiff, then ED&F — not

Third-Party Plaintiff — should be responsible because ED&F (1) managed, controlled, and

executed the Plan’s Danish securities transactions, which are the focus of SKAT’s claims; (2)

provided all of the information concerning the Plan’s securities, dividends, and withholding-tax

information on which Third-Party Plaintiff relied, including the Disavowed Tax Vouchers; and (3)

collected fees in connection with the Plan’s securities transactions and withholding-tax refunds,

including in connection with the inaccurate tax vouchers.

                                              PARTIES

       1.      Robert Crema is a citizen of the United States and a Resident of the state of Florida.

At all relevant times, Robert Crema was the sole participant of the AIG Plan.

       2.      ED&F is a financial brokerage business and financial servicer headquartered at 3

London Bridge Street, London, SE1 9SG, United Kingdom. At all relevant times, ED&F managed

and controlled a brokerage account for the AIG Plan, executed trades in Danish securities for the

Plan, provided documentation and information to the Plan in connection with the Plan’s account,

securities transactions, dividend receipts, and tax vouchers, and collected fees in connection with

the Plan’s withholding-tax refund requests.

                                JURISDICTION AND VENUE

       3.      This Court has subject-matter jurisdiction over these third-party claims pursuant to

28 U.S.C. § 1332 because the amount in controversy exceeds $75,000 and because the claims are

between a U.S. citizen and a citizen of a foreign state. This Court also has subject-matter




                                                -2-
      Case 1:18-md-02865-LAK             Document 529       Filed 01/29/21       Page 3 of 24




jurisdiction over these third-party claims pursuant to 28 U.S.C. § 1367 because the third-party

claims form part of the same case or controversy as SKAT’s claims against Robert Crema.

        4.      This action was transferred from the United States District Court for the District of

Utah to this Court for pretrial purposes only pursuant to 28 U.S.C. § 1407. This Court, as the

transferee court, must apply the law the transferor court to determine whether it can exercise

personal jurisdiction.

        5.      This Court has personal jurisdiction over ED&F because ED&F’s conduct giving

rise to these third-party claims was purposefully directed toward residents of the State of Utah.

ED&F transacted business with Utah-based pension plans directly and/or through those Plans’

Utah-based representative and caused tortious injury to those Plans in Utah. ED&F established a

continuing and ongoing relationship with the Plans directly and/or through the Plans’ Utah-based

representative, Acer, and therefore created a substantial connection to the State of Utah.

        6.      These third-party claims are properly venued for pretrial purposes in the United

States District Court for the Southern District of New York because this action was transferred to

this Court for pretrial purposes only pursuant to 28 U.S.C. § 1407. These third-party claims are

properly venued for trial in the United States District Court for the District of Utah because ED&F

is subject to that court’s personal jurisdiction.

        7.      By filing these third-party claims in the United States District Court for the

Southern District of New York, Robert Crema does not waive his right to have SKAT’s claims or

these third-party claims transferred back to the United States District Court for the District of Utah

for purposes of trial.




                                                    -3-
      Case 1:18-md-02865-LAK             Document 529         Filed 01/29/21       Page 4 of 24




                                     STATEMENT OF FACTS

    A. ED&F entered into various agreements with the Plan pursuant to which ED&F
       agreed to exercise reasonable care in relation to the Plan’s transactions and account.

        8.      ED&F is a broker registered with the Financial Conduct Authority (“FCA”), which

regulates the UK financial and securities markets.

        9.      In 2012, the Plan and ED&F executed an agreement (the “Agreement”) that set

forth ED&F’s obligations as broker-custodian for the AIG Plan. The Agreement includes the

Plan’s Custody Agreement, Security and Set-Off Deed, ISDA Master Agreement, and Terms and

Condition of Business.

        10.     Attached hereto as Exhibit A is the AIG Plan’s Custody Agreement.

        11.     The Agreement identified New Jersey as the location of the AIG Plan. The Plan

designated Acer, operating out of Utah, as its attorney in fact to manage the Plan’s ED&F account.

        12.     Pursuant to the Agreement, the Plan has maintained a brokerage account with

ED&F since at least June 2012.

        13.     ED&F was required to exercise reasonable care when, among other things,

(i) buying or selling securities for the Plan; (ii) settling the Plan’s trades; (iii) managing the Plan’s

custodian and sub-custodian accounts; (iv) keeping records and statements concerning the Plan’s

account and securities; (v) acting on the Plan’s instructions; (vi) registering the Plan’s securities

in compliance with FCA regulations; and (vii) crediting all income, dividends, and other proceeds

on the Plan’s securities only after actual receipt and reconciliation.

        14.     ED&F was prohibited from, among other things, falsifying account statements,

buy/sell confirmations, dividend receipts, tax vouchers, or other documentation in relation to the

Plan’s securities holdings and brokerage account.




                                                  -4-
      Case 1:18-md-02865-LAK           Document 529         Filed 01/29/21      Page 5 of 24




       15.      The Plan designated Acer as its attorney-in-fact in connection with investments in

U.S. and foreign securities transactions conducted through the Plan’s ED&F brokerage account.

       16.      ED&F agreed to communicate with the Plan through Acer and, during all relevant

times, ED&F routinely communicated with the Plan through Acer in relation to ED&F’s dealings

with the Plan, which are described more fully below.

   B. The Plan traded in Danish securities through ED&F and intended to receive
      dividends net of withholding taxes from Danish companies and to apply for
      withholding-tax refunds based on the information provided by ED&F.

       17.      At all relevant times herein, Danish law required Danish companies to withhold

and report to SKAT 27% of the dividends Danish companies distribute to their respective

shareholders.

       18.      Pursuant to the U.S.-Denmark Tax Treaty, Denmark cannot tax dividends paid to a

U.S. pension plan by a Danish company.

       19.      At all relevant times, SKAT served the Danish government as the agency

responsible for administering Danish taxes and refunding dividend withholding taxes, including

refunds of dividend withholding taxes owed to U.S. pension plans.

       20.      Between December 2013 and August 2015, the Plan traded in shares of certain

Danish companies through ED&F.

       21.      As a result, ED&F generated a number of documents detailing and describing each

of the transactions, including buy/sell confirmations for the Plan’s transactions, account statements

showing that the transactions occurred, and tax vouchers describing the Plan’s security holdings

and receipt of dividends net of withholding-taxes.

       22.      ED&F provided documents and information concerning the Plan’s holdings,

security interests, and withholding-taxes to the Plan through Acer.




                                                -5-
      Case 1:18-md-02865-LAK             Document 529       Filed 01/29/21      Page 6 of 24




       23.     According to the information and documents provided by ED&F, the Plan’s

holding of shares in Danish companies resulted in the crediting of dividends net of withholding

taxes to the Plan’s brokerage account.

       24.     Based on the documents and information provided by ED&F, the Plan was led to

believe that it held securities in Danish companies in its ED&F brokerage account on or around

the relevant record dates for payment of dividends (the “Holdings”) and received dividends net of

withholding taxes on those securities (the “Dividends”).

   C. Third-Party Plaintiff relied on ED&F when the Plan applied for withholding-tax
      refunds from SKAT.

       25.     Third-Party Plaintiff entrusted ED&F, as broker/custodian for the Plan, with the

management and control of the Plan’s brokerage account, the execution and settlement of

securities transactions for the Plan, and the preparation of any tax vouchers related thereto.

       26.     ED&F prepared such tax vouchers (the “Tax Vouchers”) by which ED&F

purportedly confirmed the Plan’s relevant shareholdings over the applicable dividend dates and

described the Dividends received by the Plan net of withholding taxes.

       27.     ED&F prepared a Tax Voucher for the Plan’s Holdings and Dividends.

       28.     ED&F knew that the Plan intended to request withholding-tax refunds from SKAT

through Goal Taxback Ltd. (“Goal Taxback”), a third-party payment-processing agent.

       29.     Accordingly, ED&F would send the Tax Vouchers directly to Goal Taxback, who

would then submit the applications for withholding-tax refunds to SKAT on behalf of the Plan.

       30.     ED&F would also email copies of the Tax Vouchers to Acer in Utah. The Plan,

through Acer, received the Tax Vouchers from ED&F when Goal Taxback received the Tax

Vouchers so the Plan would be aware whether a withholding-tax refund application would be

submitted by Goal Taxback on its behalf.



                                                 -6-
      Case 1:18-md-02865-LAK           Document 529        Filed 01/29/21     Page 7 of 24




       31.     With each of the Tax Vouchers, ED&F confirmed the Plan’s relevant shareholding

over the applicable dividend dates, described the Dividends received by the Plan net of withholding

taxes and stated that ED&F “has no beneficial interest in the holding and will not be reclaiming

the tax. The dividends specified on this credit advice were paid net of withholding tax to [the]

American Investment Group of NY LP Pension Plan.” For example:




       32.     Each of the Tax Vouchers stated the dividend “received” by the Plan and the

withholding-tax “suffered” by the Plan.




                                                -7-
      Case 1:18-md-02865-LAK           Document 529        Filed 01/29/21     Page 8 of 24




       33.     Attached hereto as Exhibit B are the eleven (11) Tax Vouchers provided by ED&F

for the AIG Plan’s withholding-tax refunds.

       34.     At all relevant times, ED&F owed a duty to the Plan to create true and accurate

documents and was uniquely positioned to confirm the status of the Plan’s Holdings, Dividends,

brokerage account, securities transactions, and entitlement to dividend withholding taxes. Robert

Crema placed his confidence in ED&F to act primarily for the benefit of the Plan and placed the

Plan’s property, interests, and trust in the charge of ED&F.

       35.     On information and belief, ED&F was the only entity that had direct control over

the information concerning, among other things, ED&F’s custody account(s), the Plan’s brokerage

account, securities in that account, receipt of dividends, withholding-tax suffered in relation to

those dividends, and entitlement to dividend withholding taxes.

       36.     After ED&F apparently confirmed that the Plan received the Dividends from the

Danish issuer net of withholding taxes, ED&F sent the Tax Vouchers to Goal Taxback.

       37.     ED&F provided the Plan with account statements reflecting all Danish securities

transactions in its ED&F brokerage account. The account statements confirmed that for each

transaction reflected on the Tax Vouchers, the Plan owned the relevant shares on the respective

record dates and was paid the applicable dividend from the Danish issuer, minus Danish

withholding taxes.

       38.     Third-Party Plaintiff, as a representative of the Plan, reasonably relied on the Tax

Vouchers and other information provided by ED&F, including buy/sell confirmations and account

statements, when the Plan requested the withholding-tax refunds from SKAT through Goal

Taxback.




                                                -8-
      Case 1:18-md-02865-LAK              Document 529        Filed 01/29/21     Page 9 of 24




        39.        SKAT paid the Plan through Goal Taxback for all of the Plan’s withholding-tax

refunds until August 2015, at which point SKAT stopped paying withholding-tax refund claims.

        40.        In 2018, SKAT sued the Plan seeking damages and/or restitution in the amount of

the withholding-tax refunds SKAT paid to the Plan, alleging fraud, aiding and abetting fraud,

negligent misrepresentation, unjust enrichment, and money had and received.

        41.        SKAT seeks to have $3,388,000 in refunds returned in its action against the Third-

Party Plaintiff.

    D. Third-Party Plaintiff relied on information provided by ED&F, including the Tax
       Vouchers, when choosing to defend SKAT’s claims and pursue appeals in Denmark
       challenging SKAT’s revocations of its tax-refund payments to the Plan.

        42.        On or about the same day SKAT sued U.S. pension plans in the United States

concerning withholding-tax refunds, SKAT also rendered its “final determination” concerning the

Plan’s withholding-tax refund applications.

        43.        In that final determination, SKAT determined that the Plan was not entitled to the

withholding-tax refunds paid by SKAT because SKAT’s initial decisions to pay the Plan had been

made on a false basis.

        44.        Relying on the purported truthfulness of the documents and information provided

by ED&F, including the Tax Vouchers, the Plan appealed SKAT’s decision in August 2018.

        45.        Since August 2018, significant amounts have been spent in pursuit of the appeals

in Denmark, trusting that ED&F provided truthful documentation, including truthful Tax

Vouchers, which showed the Plan was entitled to the withholding-tax refunds from SKAT.

        46.        Likewise, since at least April 2020, significant amounts have been spent in defense

of the Third-Party Plaintiff in the action filed by SKAT.

    E. In September 2019, ED&F admitted that certain of the Tax Vouchers that it created
       for the Plan were inaccurate.



                                                   -9-
     Case 1:18-md-02865-LAK            Document 529        Filed 01/29/21     Page 10 of 24




        47.    SKAT sued ED&F in the United Kingdom (the “U.K. Proceeding”) over the same

transactions that are the basis of SKAT’s claims against Third-Party Plaintiff.

        48.    In September 2019, ED&F filed its Amended Defence in the U.K. Proceeding and

identified 80 tax vouchers issued by ED&F to pension plans that it now, for the first time, stated

were inaccurate.

        49.    ED&F stated that four (4) of the eleven (11) tax vouchers it prepared for the Plan

contained false information and listed those tax vouchers (the “Disavowed Tax Vouchers”) in

Annex E to its Amended Defence.

        50.    ED&F’s list of the Disavowed Tax Vouchers is attached hereto as Exhibit C, with

the tax vouchers relevant to the Plan’s third-party claims highlighted.

        51.    ED&F stated that each of the Disavowed Tax Vouchers was “inaccurate in that the

[Plan] identified therein: had not ‘received’ the amount set out therein by way of dividend from

the Danish Listed Company; and had not ‘suffered’ [withholding tax] in the amount set out therein

in relation to such dividend at the stated (27%) or any rate.”

        52.    According to ED&F, two (2) of the Disavowed Tax Vouchers are wholly inaccurate

in that the Plan did not receive the actual dividend from a Danish company and did not suffer any

withholding taxes. For the remaining two (2) Disavowed Tax Vouchers, the Plan apparently

received part of an actual dividend from a Danish company but did not received the remaining

amount by way of dividend from a Danish issuer.

        53.    The Disavowed Tax Vouchers were transmitted from ED&F to the Plan, through

Acer.

        54.    If the Plan had not received the inaccurate information contained in the Disavowed

Tax Vouchers from ED&F, the Plan would never have submitted refund applications to SKAT.




                                                -10-
     Case 1:18-md-02865-LAK           Document 529        Filed 01/29/21   Page 11 of 24




       55.     Because of ED&F’s unique position as broker-custodian for the Plan and its access

to all relevant information concerning the Plan’s securities, holdings, receipt of dividends,

withholding-tax suffered in relation to those dividends, and entitlement to dividend withholding

taxes, ED&F possessed all of the information necessary to determine the accuracy of the

information of the Disavowed Tax Vouchers at the time ED&F sent the them to the Plan.

       56.     With the Disavowed Tax Vouchers, ED&F misrepresented the Plan’s dividend

receipts and withholding-tax-entitlement status while knowing that the Plan intended to rely on

that information to support the Plan’s refund applications.

       57.     When ED&F transmitted the Disavowed Tax Vouchers, on behalf of the Plan,

ED&F knew or should have known that the dividend and withholding-tax information in the

Disavowed Tax Vouchers was false.

       58.     As a result of the now-disavowed Tax Vouchers according to ED&F’s Annex E,

attached hereto as Exhibit C, ED&F’s Tax Vouchers for the Plan were inaccurate to the amount of

$1,400,487.80.1

       59.     According to the information provided by ED&F, including account statements and

trade confirms, the Plan purchased the Danish-listed shares described in the Disavowed Tax

Vouchers.

       60.     Third-Party Plaintiff never had reason to doubt the veracity of the Tax Vouchers

provided by ED&F until September 2019, after ED&F filed its Amended Defence in the U.K.

proceedings.




1
 This amount is the result of a conversion from Danish Krone (“DKK”) to U.S. Dollars performed
on January 27, 2021, utilizing a conversion rate of 1 U.S. Dollar to 6.15 DKK.


                                               -11-
     Case 1:18-md-02865-LAK            Document 529        Filed 01/29/21      Page 12 of 24




       61.     ED&F Man never warned the Plan that it had determined that the Disavowed Tax

Vouchers were wrongful or that it would be filing documents in proceedings in the U.K. in which

it would declare the Disavowed Tax Vouchers false.

       62.     Indeed, it has only been through litigation involving SKAT that ED&F has

communicated the apparent falsehoods to the Plan.

       63.     Despite multiple inquires, ED&F has refused to explain why the Disavowed Tax

Vouchers are false or how ED&F reached that determination.

       64.     Even more concerning is that the Disavowed Tax Vouchers are identical in

appearance, format and language to the other seven (7) Tax Vouchers issued to the Plan by ED&F

that ED&F has not identified as being inaccurate.

       65.     ED&F has offered no evidence that it did not know the Disavowed Tax Vouchers

were false when first transmitted to the Plan and Goal Taxback.

       66.     Despite being in possession of information upon which it has subsequently

determined that there were four (4) transactions in which the Plan did not receive a dividend from

a Danish listed company and did not suffer withholding tax at any rate, ED&F fraudulently issued

the Disavowed Tax Vouchers reflecting that the Plan had actually received dividends from the

Danish-listed company and had suffered withholding tax at a rate of 27% of such dividends.

       67.     Third-Party Plaintiff reasonably relied on all Tax Vouchers issued by ED&F,

including the Disavowed Tax Vouchers, and other information provided by ED&F, including

buy/sell confirmations and account statements, to form the belief that with respect to the securities

reflected on the Tax Vouchers (i) the Plan’s Holdings and Dividends were accurate; (ii) the Plan

actually held the securities it represented to SKAT that it owned; (iii) the Plan received the

Dividends; (iv) dividend tax was withheld in relation to the Dividends and the Holdings; and (v)




                                                -12-
     Case 1:18-md-02865-LAK            Document 529         Filed 01/29/21      Page 13 of 24




the Plan was entitled to withholding-tax refunds from SKAT in the amount set out in the Tax

Voucher.

       68.      Third-Party Plaintiff reasonably relied on the Tax Vouchers, including the

Disavowed Tax Vouchers, and other information provided by ED&F, including buy/sell

confirmations and account statements, when requesting the withholding-tax refunds from SKAT

through Goal Taxback and when continuing to engage in further trades through ED&F, including

the transactions at issue in SKAT’s claims.

       69.      Third-Party Plaintiff reasonably relied on the Tax Vouchers, including the

Disavowed Tax Vouchers, and other information provided by ED&F, including buy/sell

confirmations and account statements, when a Danish law firm was hired at significant cost to

pursue appeals of SKAT’s final determinations regarding the Plan’s withholding tax refund

applications.

   F. If SKAT proves the Plan did not own the shares it claimed to own, did not earn the
      dividends it claimed to have earned, or was otherwise not entitled to the withholding
      taxes it claimed, then ED&F should be responsible for any amounts claimed by
      SKAT.

       70.      SKAT alleges Third-Party Plaintiff misrepresented the Plan’s Holdings and

Dividends when the Plan requested the withholding-tax refunds.

       71.      SKAT alleges that the Plan did not own the shares that it claimed to own, did not

earn the dividends it claimed to have earned, and was not entitled to the tax refunds that it claimed.

       72.      SKAT also alleges that ED&F provided statements falsely representing that the

Plan owned shares in Danish companies and had earned dividends on those shares. To be clear,

the Plan has never attempted to defraud or commit other wrongful actions against SKAT.

       73.      If, however, SKAT proves its claims and establishes that the Third-Party Plaintiff

is liable to SKAT for some or all of SKAT’s alleged damages or amounts it claims to be owed,



                                                -13-
     Case 1:18-md-02865-LAK           Document 529        Filed 01/29/21     Page 14 of 24




then ED&F should be responsible for such damages because of ED&F’s obligations under the

Agreement, its duty to transmit only truthful and accurate information to the Plan, and because of

its unique position by which it managed and controlled the Plan’s brokerage account, executed

securities transactions for the Plan, and could confirm the Plan’s Holdings, Dividends, and

withholding-tax refunds.

   G. Alternatively, ED&F must repay the fees it collected in relation to the Plan’s
      transactions and withholding-tax refunds if SKAT is entitled to damages or
      restitution.

        74.    Parties that facilitate securities transactions and related transactions typically

charge fees. Fees are often charged as a percentage of the total profit or cost of the transaction.

This is common in many service-oriented industries and is simply understood as the “cost of doing

business.”

        75.    As should be expected, ED&F collected fees from the Plan in connection with the

Plan’s transactions, Holdings, Dividends, and/or withholding-tax refunds.

        76.    In its Amended Defence, ED&F admitted that it “received fees out of the proceeds

of any successful [withholding-tax] applications which included a Tax Voucher prepared by

ED&F.”

        77.    ED&F charged fees to and collected fees from the Plan out of the proceeds of the

successful withholding-tax applications which included Disavowed Tax Vouchers prepared by

ED&F.

        78.    If SKAT’s allegations are proven to be true or if SKAT is otherwise entitled to

reimbursement of some or all of the amounts that SKAT reimbursed or refunded to the Plan, then

ED&F should be required, at a minimum, to return any fees it collected from the Plan in connection




                                               -14-
     Case 1:18-md-02865-LAK              Document 529        Filed 01/29/21     Page 15 of 24




with the Plans’ transactions, Holdings, Dividends, and/or withholding-tax refunds, including the

fees charged to the Plans and collected by ED&F in relation to the Disavowed Tax Vouchers.

                                 THIRD-PARTY CLAIM COUNT I
                                           Fraud

        79.        Third-Party Plaintiff repeats and realleges paragraphs 1 through 78 of this Third-

Party Complaint as if set forth fully herein.

        80.        ED&F prepared and transmitted the Tax Vouchers, including the Disavowed Tax

Vouchers, to the Plan.

        81.        According to ED&F’s recent admissions, the Disavowed Tax Vouchers contain

false statements of material fact concerning the Plan’s receipt of dividends and suffering of

dividend-withholding taxes.

        82.        ED&F intentionally, knowingly, and/or recklessly made or caused to be made the

false statements in the Disavowed Tax Vouchers for the purpose of inducing Third-Party Plaintiff

to act upon those false statements.

        83.        ED&F had a financial interest in making the misstatements in the Disavowed Tax

Vouchers because, in making those misstatements, it put itself in a position to charge the Plan for

custody and clearance fees after SKAT accepted the withholding-tax applications based on the

Disavowed Tax Vouchers.

        84.        Third-Party Plaintiff, without knowledge or reason to know of any false statements

in the Tax Vouchers or the Disavowed Tax Vouchers, reasonably relied on ED&F’s statements in

the Tax Vouchers, including the false statements in the Disavowed Tax Vouchers, when the Plan

requested the dividend-withholding taxes SKAT now wants returned in its actions against Third-

Party Plaintiff.




                                                  -15-
     Case 1:18-md-02865-LAK            Document 529        Filed 01/29/21      Page 16 of 24




       85.     Third-Party Plaintiff also relied on ED&F’s statements in the Tax Vouchers,

including the false statements in the Disavowed Tax Vouchers, when a Danish law firm was hired

at significant cost to pursue appeals of SKAT’s final determinations regarding the Plan’s

withholding tax refund applications.

       86.     If SKAT is entitled to the amounts it claims to be owed, then ED&F should be liable

to Third-Party Plaintiff for any amounts or other remedies Third-Party Plaintiff is found to owe

SKAT, including, but not limited to damages, restitution, punitive damages, and/or fees and costs,

plus interest, and for any and all legal fees spent in defense of Third-Party Plaintiff against SKAT.

       87.     ED&F should further be liable to Third-Party Plaintiff for any and all legal fees

spent in pursuit of the appeal of SKAT’s final determination, as that appeal was premised on the

truthfulness of documentation and information provided by ED&F, including the Tax Vouchers

and the Disavowed Tax Vouchers.

       88.     ED&F’s extensive fraudulent conduct demonstrates a high degree of moral

turpitude and wanton dishonesty, entitling Third-Party Plaintiff to punitive damages.

                              THIRD-PARTY CLAIM COUNT II
                                 Negligent Misrepresentation

       89.     Third Party Plaintiff repeats and realleges paragraphs 1 through 88 of this Third-

Party Complaint as if set forth fully herein.

       90.     At all relevant times herein, ED&F had a duty to provide truthful and accurate tax

vouchers and other documentation concerning the Plan’s securities.

       91.     According to ED&F’s own admissions, ED&F made material, factual statements

in the Disavowed Tax Vouchers that it represented were true, but which were, in fact, not true

when made.




                                                -16-
     Case 1:18-md-02865-LAK              Document 529        Filed 01/29/21      Page 17 of 24




        92.        ED&F knew or should have known that the Disavowed Tax Vouchers were

inaccurate when it prepared them for the Plan.

        93.        ED&F failed to use reasonable care to determine whether misstatements in the

Disavowed Tax Vouchers were true.

        94.        ED&F was in a better position than Third-Party Plaintiff to know the true facts.

        95.        Third-Party Plaintiff, without knowledge or reason to know of any false statements

in the Tax Vouchers or the Disavowed Tax Vouchers, reasonably relied on ED&F’s statements in

the Tax Vouchers, including the false statements in the Disavowed Tax Vouchers, when the Plan

requested the dividend-withholding taxes SKAT now wants returned in its actions against Third-

Party Plaintiff.

        96.        If SKAT is entitled to the amounts it claims to be owed, then ED&F should be liable

to Third-Party Plaintiff for any amounts or other remedies the Third-Party Plaintiff is found to owe

SKAT, including, but not limited to damages, restitution, punitive damages, and/or fees and costs,

plus interest.

        97.        ED&F should further be liable to Third-Party Plaintiff for any and all legal fees

spent in pursuit of the appeal of SKAT’s final determination, as that appeal was premised on the

truthfulness of the Tax Vouchers, including the Disavowed Tax Vouchers.

                                THIRD-PARTY CLAIM COUNT III
                                    Breach of Fiduciary Duty

        98.        Third-Party Plaintiff repeats and realleges paragraphs 1 through 97 of this Third-

Party Complaint as if set forth fully herein.

        99.        ED&F, as custodian to the Plan, had a fiduciary relationship with Third-Party

Plaintiff. Third-Party Plaintiff, as trustee for the Plan, placed his confidence in ED&F to act in

good faith and primarily for the benefit of the Plan and placed the Plan’s property, interests, and



                                                  -17-
     Case 1:18-md-02865-LAK            Document 529         Filed 01/29/21      Page 18 of 24




trust in the charge of ED&F. ED&F was uniquely positioned to confirm the Plan’s Holdings,

Dividends, brokerage account, securities transactions, and entitlement to dividend withholding

taxes.

         100.   On information and belief, ED&F was the only entity that had direct control over

information concerning, among other things, the Plan’s brokerage account, securities transactions,

receipt of dividends, and entitlement to dividend withholding taxes.

         101.   Because of its fiduciary relationship, ED&F was required to deal truthfully and

primarily for the benefit of the Plan at all times, to exercise reasonable care, skill, and diligence,

and to advise Third-Party Plaintiff and the Plan of all relevant facts and circumstances known to

ED&F.

         102.   ED&F’s fiduciary duties are separate and distinct from its contractual obligations

to the Plan under the Agreements.

         103.   ED&F breached its fiduciary duties by, at the very least, making the false

statements in the Disavowed Tax Vouchers for the Plan’s withholding-tax applications.

         104.   If SKAT’s allegations are proven to be true or if SKAT is otherwise entitled to the

amounts it claims to be owed, then ED&F breached its fiduciary obligations, and Third-Party

Plaintiff will have been damaged, in an amount to be determined, as a direct result of ED&F’s

breaches.

         105.   Thus, if SKAT’s allegations are proven to be true or if SKAT is otherwise entitled

to the amounts it claims to be owed, then ED&F should be liable to Third-Party Plaintiff for any

amounts or other remedies Third-Party Plaintiff is found to owe SKAT, including, but not limited

to, damages, restitution, punitive damages, and/or fees and costs, plus interest.




                                                -18-
     Case 1:18-md-02865-LAK             Document 529         Filed 01/29/21      Page 19 of 24




        106.    ED&F should further be liable to Third-Party Plaintiff for any and all legal fees

spent in pursuit of the appeal of SKAT’s final determination, as that appeal was premised on the

truthfulness of documentation and information provided by ED&F, including the Tax Vouchers

and the Disavowed Tax Vouchers.

                              THIRD-PARTY CLAIM COUNT IV
                                    Promissory Estoppel

        107.    Third-Party Plaintiff repeats and realleges paragraphs 1 through 106 of this Third-

Party Complaint as if set forth fully herein.

        108.    ED&F promised to exercise reasonable care when, among other things, (i) buying

or selling securities for the Plan; (ii) settling the Plan’s transactions; (iii) managing the Plan’s

custodian and sub-custodian accounts; (iv) keeping records and statements concerning the Plan’s

brokerage account and ownership of securities; (v) acting on the Plan’s instructions;

(vi) registering the Plan’s securities in compliance with all applicable rules and regulations; and

(vii) crediting all income, dividends, and other proceeds on the Plan’s securities only after actual

receipt and reconciliation.

        109.    ED&F promised to create only truthful and accurate documents in relation to the

Plan’s account statements, buy/sell confirmations, dividend receipts, tax vouchers, or other

documentation in relation to the Plan’s securities holdings and brokerage account.

        110.    ED&F should have reasonably expected — and, on information and belief, did

reasonably expect — its promises to induce Third-Party Plaintiff to rely on the Tax Vouchers and

other information provided by ED&F, including buy/sell confirmations and account statements, to

form the belief that (i) the Plan’s Holdings and Dividends were, in fact, accurate and legitimate;

(ii) the Plan actually held the securities it represented to SKAT that it owned; (iii) the Plan actually




                                                 -19-
     Case 1:18-md-02865-LAK            Document 529        Filed 01/29/21      Page 20 of 24




received the Dividends it claimed to have received; (iv) taxes were withheld in relation to the

Dividends and Holdings; and (v) the Plan was entitled to the withholding-tax refunds.

       111.    Third-Party Plaintiff acted with prudence and in reasonable reliance on ED&F’s

promises when authorizing Goal Taxback to submit applications for the withholding-tax refunds

from SKAT and refrained from seeking from any other party a tax voucher or other documentation

to support the Plan’s tax-withholding refund claims. On information and belief, ED&F knew that

Third-Party Plaintiff so relied on ED&F’s promises.

       112.    ED&F knew all important and material facts concerning its promises, the Holdings,

the Dividends, the Tax Vouchers, and the withholding-tax refunds.

       113.    ED&F failed to fulfill its promises by, at the very least, making the false statements

in the Disavowed Tax Vouchers for the Plan’s withholding-tax applications.

       114.    If, as SKAT alleges, the Plan never held the shares it claimed to own, never received

the dividends it claimed to have received, and/or are otherwise not entitled to the withholding-tax

refunds, then ED&F failed to fulfill its promises, and Third-Party Plaintiff will have been damaged,

in an amount to be determined, as a result of ED&F’s failure to fulfill its promises.

       115.    Thus, if SKAT’s allegations are proven to be true or if SKAT is otherwise entitled

to the amounts it claims to be owed, then ED&F should be liable to Third-Party Plaintiff for any

amounts or other remedies Third-Party Plaintiff is found to owe SKAT, including, but not limited

to, damages, restitution, punitive damages, and/or fees and costs, plus interest.

       116.    ED&F should further be liable to Third-Party Plaintiff for any and all legal fees

spent in pursuit of the appeal of SKAT’s final determination, as that appeal was premised on the

truthfulness of documentation and information provided by ED&F, including the Tax Vouchers

and the Disavowed Tax Vouchers.




                                                -20-
     Case 1:18-md-02865-LAK             Document 529      Filed 01/29/21      Page 21 of 24




                               THIRD-PARTY CLAIM COUNT V
                                     Unjust Enrichment

        117.    Third-Party Plaintiff repeats and realleges paragraphs 1 through 116 of this Third-

Party Complaint as if set forth fully herein.

        118.    ED&F collected fees from the Plan in connection with the Plan’s transactions,

Holdings, Dividends, withholding-tax refunds, and Tax Vouchers, including the Disavowed Tax

Vouchers.

        119.    SKAT has alleged that the Plan’s transactions, Holdings, Dividends, and Tax

Vouchers were falsified and that the Plan was not entitled to the withholding-tax refunds from

SKAT.

        120.    ED&F has admitted that the Disavowed Tax Vouchers contained false information.

        121.    It would be unjust for ED&F to retain the fees it collected from the Plan if SKAT’s

allegations are proven to be true or if SKAT is otherwise entitled to reimbursement of some or all

of the amounts that SKAT paid the Plan.

        122.    On information and belief, ED&F knowingly possesses the fees it collected from

the Plan.

        123.    Thus, if SKAT’s allegations are proven to be true or if SKAT is otherwise entitled

to reimbursement of some or all of the amounts that SKAT paid the Plan, then ED&F will have

been unjustly enriched in the amount of the fees it collected from the Plan, and ED&F should be

liable to account and return the fees, plus interest.

                              THIRD-PARTY CLAIM COUNT VI
                                  Equitable Indemnification

        124.    Third-Party Plaintiff repeats and realleges paragraphs 1 through 123 of this Third-

Party Complaint as if set forth fully herein.




                                                 -21-
     Case 1:18-md-02865-LAK            Document 529         Filed 01/29/21      Page 22 of 24




       125.     If SKAT’s allegations are proven to be true or if SKAT is otherwise entitled to the

amounts it claims to be owed, then Third-Party Plaintiff will be liable to SKAT or will be obligated

to repay SKAT the entire amount of the withholding-tax refunds paid by SKAT to the Plan.

       126.     However, as alleged herein, Third-Party Plaintiff relied on ED&F and ED&F’s own

statements, including the Disavowed Tax Vouchers.

       127.     Furthermore, SKAT has alleged that it was ED&F that provided the statements

falsely representing that the Plan owned shares in Danish companies and had earned dividends on

those shares.

       128.     Thus, if SKAT’s allegations are proven to be true or if SKAT is otherwise entitled

to the amounts it claims to be owed, then ED&F should be obligated to indemnify Third-Party

Plaintiff for all costs incurred and that Third Party Plaintiff may incur as a result of any of SKAT’s

claims, including, but not limited to, (i) any amounts owed by Third-Party Plaintiff to SKAT or,

in the alternative, any amounts ED&F received in connection with the Plan’s transactions,

Holdings, Dividends, withholding-tax refunds, and Tax Vouchers and (ii) any of the Third-Party

Plaintiff’s attorneys’ fees and costs, plus pre-judgment interest and other expenses arising out of

or related to these third-party claims and SKAT’s claims against the Third-Party Plaintiff in this

or any jurisdiction.

       129.     ED&F should further be liable to Third-Party Plaintiff for any and all legal fees

spent in pursuit of the appeal of SKAT’s final determination, as that appeal was premised on the

truthfulness of documentation and information provided by ED&F, including the Tax Vouchers

and the Disavowed Tax Vouchers.




                                                -22-
     Case 1:18-md-02865-LAK            Document 529           Filed 01/29/21   Page 23 of 24




                                 THIRD-PARTY CLAIM COUNT VII
                                      Apportionment of Fault

        130.    Third-Party Plaintiff repeats and realleges paragraphs 1 through 129 of this Third-

Party Complaint as if set forth fully herein.

        131.    SKAT has filed claims against Third-Party Plaintiff for damages and restitution

arising out of and related to Plan’s dealings with ED&F.

        132.    SKAT alleged that ED&F provided statements falsely representing that the Plan

owned shares in Danish companies and had earned dividends on those shares, and thus, if SKAT

proves its claims, then ED&F should be responsible for all or a portion of SKAT’s alleged harm.

        133.    Pursuant to the Utah Liability Reform Act, Utah Code §§ 78B-5-817, et seq., Third-

Party Plaintiff allege that all fault should be apportioned to ED&F for SKAT’s claims against

Third-Party Plaintiff, including, but not limited to, damages, restitution, punitive damages, and/or

fees and costs, plus interest.

        134.    Third-Party Plaintiff intends to include ED&F on a special verdict form for the

purposes of allocation of fault, consistent with the above.

                                         JURY DEMAND

        Third-Party Plaintiff demands a jury trial on all issues so triable.

                                     REQUEST FOR RELIEF

        WHEREFORE, Robert Crema respectfully requests that this Court enter judgment in his

favor and against ED&F as follows:

          I.    Enter judgment in favor of Robert Crema and against ED&F on the third-party
                claims against ED&F;

         II.    Apportion all fault to ED&F for SKAT’s claims against Robert Crema, pursuant to
                the Utah Liability Reform Act, Utah Code §§ 78B-5-817, et seq.;




                                                 -23-
  Case 1:18-md-02865-LAK          Document 529        Filed 01/29/21      Page 24 of 24




     III.   In the event SKAT successfully proves its claims against Robert Crema, require
            ED&F to indemnify Robert Crema for all costs arising out of or related to SKAT’s
            claims against Robert Crema and these third-party claims, including Robert
            Crema’s attorneys’ fees and costs, plus pre-judgment interest, costs, and expenses;

     IV.    Award Robert Crema his attorneys’ fees and costs; and

      V.    Grant such other preliminary, permanent, compensatory, or punitive relief against
            ED&F and in favor of Robert Crema as the Court deems just and proper.


January 29, 2021                          Respectfully submitted,

                                          K&L GATES LLP


                                          /s/ John C. Blessington
                                          John C. Blessington (pro hac vice)
                                            john.blessington@klgates.com
                                          Brandon R. Dillman (pro hac vice)
                                            brandon.dillman@klgates.com
                                          Michael R. Creta (pro hac vice)
                                            michael.creta@klgates.com
                                          John L. Gavin (pro hac vice)
                                            john.gavin@klgates.com
                                          K&L GATES LLP
                                          State Street Financial Center
                                          One Lincoln Street
                                          Boston, MA 02111
                                          T: 617.261.3100
                                          F: 617.261.3175

                                          Attorneys for Defendant / Third-Party Plaintiff
                                          Robert Crema




                                           -24-
